
PER CURIAM:
*106This claim was submitted for a decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
The claimant seeks payment of $190.00 for medical services provided to an inmate in the Anthony Center, a facility of the respondent.
In its Answer, the respondent admits the validity and amount of the claim, but states that there were insufficient funds expired in the appropriate fiscal year with which the invoice could have been paid.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
